

People v Peterkin (2025 NY Slip Op 02222)





People v Peterkin


2025 NY Slip Op 02222


Decided on April 16, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 16, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
BETSY BARROS
LINDA CHRISTOPHER
JAMES P. MCCORMACK, JJ.


2014-02256
 (Ind. No. 1609/13)

[*1]The People of the State of New York, respondent,
vNashane A. Peterkin, appellant.


Nashane A. Peterkin, Malone, NY, appellant pro se.
Anne T. Donnelly, District Attorney, Mineola, NY (Daniel Bresnahan and Kevin C. King of counsel), for respondent.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated December 9, 2015 (People v Peterkin, 134 AD3d 859), affirming a sentence of the Supreme Court, Nassau County, imposed February 20, 2014.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
DILLON, J.P., BARROS, CHRISTOPHER and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








